        Case: 3:15-cv-50283 Document #: 50 Filed: 08/01/16 Page 1 of 5 PageID #:276
	


                                       IN THE UNITED STATES DISTRICT COURT
                                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                 WESTERN DIVISION

CHRISTOPHER E. RIXEN, DWAYNE                               )
GERONZIN, BRAD MAYDEW,                                     )
DONALD HUIZENGA AND TODD                                   )
KRAMER on behalf of themselves and                         )
others similarly situated,                                 )
                                                           )   CASE NO. 3:15-cv-50283
                           Plaintiffs,                     )
                                                           )   Judge Frederick J. Kapala
             v.                                            )   Magistrate Judge Iain D. Johnston
                                                           )
DANISCO USA, Inc. and DUPONT                               )
USA                                                        )
                                                           )
                           Defendants.                     )


                    JOINT MOTION FOR COURT APPROVAL OF SETTLEMENT
                   AND DISMISSAL OF NAMED AND OPT-IN PLAINTIFFS’ CLAIMS

            Named Plaintiffs Christopher E. Rixen, Dwayne Geronzin, Brad Maydew, Donald

Huizenga, and Todd Kramer (“Named Plaintiffs”), on behalf of themselves and the opt-in

Plaintiffs1 (collectively, “Plaintiffs”) and Defendants Danisco USA, Inc. and E. I. du Pont de

Nemours and Company (incorrectly identified as “DuPont USA”) (“Defendants”) (collectively,

the “Parties”), by and through their respective attorneys, jointly move for the Court to approve

the settlements entered between Defendants and Plaintiffs and submitted to the Court for in

camera inspection. In support of the motion, the Parties state as follows:

             1.            On November 6, 2015, Named Plaintiffs filed a Complaint in the United States

District Court for the Northern District of Illinois, Western Division against Defendants alleging

																																																								
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 	     Subsequent to the filing of this lawsuit, the following ten (10) individuals opted in as plaintiffs:
Darrin Partin (Dkt. No. 5), Michael McKenrick (Dkt. No. 7), Kas Loehndorf (Dkt. No. 9), Ryan
Workman (Dkt. No. 9), Kevin Price (Dkt. No. 12), Steve Paulline (Dkt. No. 13), Nicholas Warren (Dkt.
No. 14), Darren Lawrence (Dkt. No. 15), James Kramer (Dkt. No. 33), and Ardo E. Kilburg (Dkt. No.
47). Lawrence and Price were maintenance employees, not process operators.


	
        Case: 3:15-cv-50283 Document #: 50 Filed: 08/01/16 Page 2 of 5 PageID #:277
	

violations of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq., (“FLSA”), Illinois Minimum

Wage Law, 820 Ill. Comp. Stat. 105/1 et seq., (“IMWL”), and Illinois Wage Payment and

Collection Act, 820 Ill. Comp. Stat. 115/1 et seq., (“IWPCA”).2

             2.            Following negotiations between counsel for Defendants and counsel for Plaintiffs,

the Parties have reached a mutually satisfactory settlement.

             4.            When an employee asserts a claim against his employer or former employer for

wages under the FLSA, IMWL, or IWPCA, any settlement of that claim requires a court to

review the settlement for fairness. Walton v. United Consumers Club, Inc., 786 F.2d 303, 306

(7th Cir. 1986) (FLSA); Lewis v. Giordano’s Enterprises, Inc., 921 N.E.2d 740, 751 (1st Dist.

2009) (IMWL and IWPCA).

             5.            The         Confidential        Settlement       Agreements   and   General   Releases   (the

“Agreements”) entered into between Defendants and Plaintiffs have been submitted to the Court

for in camera inspection.

             6.            The Parties request the Court approve the Agreements because they are fair and

reasonable resolutions of bona fide disputes over wages under the FLSA, IMWL, and IWPCA

between Defendants and Plaintiffs.

             7.            Plaintiffs seek the Court’s approval of the proposed settlement allocation among

the plaintiffs, including the amount allocated to attorney fees and costs. The allocation is laid

out in the attached settlement agreements. Each Plaintiff and opt-in plaintiff was allocated a

portion of the settlement based on his dates of employment and wage rate. The dates of

																																																								
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        On January 12, 2016, Defendants moved to dismiss the Second Cause of Action of Plaintiffs’
Complaint – Plaintiffs’ IWPCA claim (Dkt. No. 29) – which the Court granted on April 8, 2016 with
leave to amend by May 2, 2016 (Dkt. No. 43). On April 28, 2016, the Parties requested (Dkt. No. 44),
and the Court granted (Dkt. No. 46), a stay of the proceedings to allow the Parties time to engage in
settlement discussions. Therefore, Plaintiffs have not had an opportunity to file an amended Complaint.
The Parties’ settlement include settlement of Plaintiffs’ alleged FLSA, IMWL, and IWPCA claims.
                                                                        2
	
    Case: 3:15-cv-50283 Document #: 50 Filed: 08/01/16 Page 3 of 5 PageID #:278
	

employment included an estimation of how many shifts each plaintiff worked during the relevant

statutes of limitation. The settlement agreements also reflect proposed payment of attorney fees

consistent with the plaintiffs’ attorney fees contract. The fee contracts call for payment of one-

third of the recovery plus costs. The amount of proposed fees is less than the amount calculated

on an hourly basis. Further details and a detailed description of the time devoted to the case is

available should the Court require.

       8.      In addition, the parties state that the settlement was reached on behalf of the 15

plaintiffs and opt-in plaintiffs, rather than the entire putative class as originally pled. The

primary reason for limiting negotiations to the named plaintiffs and opt-in plaintiffs was concern

that the court would not approve a collective or class based on lack of similarity among the

employees.    Specifically, the plaintiffs’ claims depended on an individualized inquiry into

whether each employee actually took meal breaks or whether the continuous process at the plant

meant that the lunch breaks either were not taken or were not primarily for the benefit of the

employee. See, Jonites v. Exelon Corp., 522 F.3d 721, 726 (C.A.7 (Ill.), 2008) (Denial of

certification of collective action affirmed because of lack of similarity on issue of whether some

employees worked through lunch some of the time.)

       9.      Upon approval of the Agreements, including allocation among the plaintiffs and

amounts allocated to attorney fees, the Parties further request the dismissal of Plaintiffs’ claims

with prejudice, with each party to bear its or his own costs and attorneys’ fees.

       WHEREFORE, for the foregoing reasons, Plaintiffs and Defendants respectfully request

that this Court enter an Order approving the Settlement Agreements and General Releases as fair

and reasonable resolutions of bona fide disputes under the FLSA, IMWL, and IWPCA between




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    Case: 3:15-cv-50283 Document #: 50 Filed: 08/01/16 Page 4 of 5 PageID #:279
	

Defendants and Plaintiffs and dismiss with prejudice the claims in this lawsuit in their entirety

and with each party to bear its or his own costs and attorneys’ fees.

Date: August 1, 2016



Respectfully submitted,




PLAINTIFFS                                    DEFENDANTS


By: /s/ Dorothy A. O’Brien                    /s/ Kirsten A. Milton
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                                                 4
	
    Case: 3:15-cv-50283 Document #: 50 Filed: 08/01/16 Page 5 of 5 PageID #:280
	

                               CERTIFICATE OF SERVICE

       I, Dorothy A. O’Brien, an attorney, hereby certify that on August 1, 2016, I electronically

filed a copy of the foregoing Joint Motion For Court Approval Of Settlement And

Dismissal Of Named and Opt-In Plaintiffs’ Claims with the Clerk of the Court using the

CM/ECF system, which will send a notice of electronic filing to the following:


                            Kirsten Milton at kirsten.milton@jacksonlewis.com

                            Jeffrey Rudd at jeffrey.rudd@jacksonlewis.com

                             Eric Magnus at E-mail: magnuse@jacksonlewis.com

                            Lisa Jensen at ljensen@jensenlawofficellc.com




                                                    By: /s/Dorothy A. O’Brien
                                                       Attorney for Plaintiffs


	
	
	




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